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Exhibit K
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Chantelle D'Angelo ~

From: Chantelle D'Angelo

Sent: Wednesday, July 08, 2015 2:01 PM
To: ‘Dmitry Lev, Esq.

Ce: Douglas Louison

Subject: RE: Niles matter

Attachments: Lahey Authorization; 7-8-2015.paf

Attorney Lev,

Attached, please find a release for medical records for Lahey Clinic. Please have your client sign and return to me so we
can obtain the records from his treatment at Lahey. Thank you.

Best,
Chantelle

Chantelle D'Angelo, Esq.

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101 Summer Street

Beston, MA 02110

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cdangelo @iccplaw.com

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From: Dmitry Lev, Esq. [mailto:diev@levlaw.net]
Sent: Thursday, July 02, 2015 1:48 PM

To: Chantelle D'Angelo

Subject: Re: Niles matter

Attached please find the medical and billing records from Wakefield Physical Therapy. Lahey Clinic has not provided 178
pages of ER, hospitalization, and treatment records because there is a dispute regarding the prepayment for their
copying service. Accordingly, the Lahey records are not - nor have ever been - without my care, custody, or control.

Please let me know if you need anything else.

Very truly yours,
